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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

NATALIE OKTEN, on behalf of herself and
those similarly situated,

Plaintiff,
V.

RADIUS GLOBAL SOLUTIONS, LLC: and Case No. 2:22-cv-00782
JOHN DOES 1 TO 10.,

Defendant.

 

 

IT APPEARING that this matter was removed from state court; and

IT FURTHER APPEARING that on August 26, 2022, Chief Judge Wolfson of this Court
dismissed and remanded one of the parallel actions, Dave v. Allied Interstate, LLC et al., Case
No. 3:21-cv-07582 (FLW-TJB), for lack of subject matter jurisdiction based on Trans Union
LLC v. Ramirez, U.S._, 141 S.Ct. 2190 (2021); and

IT FURHTER APPEARING that defendant promptly wrote to this Court informing it of
Chief Judge Wolfson’s ruling and requesting that this matter likewise be remanded to state court;
and

IT FURTHER APPEARING that plaintiff consents to remand of this matter to state
court;

IT IS this 12th day of __ October , 2022,

ORDERED that this action is remanded to the state court from which it originated,

Superior Court, Essex County, ESX-L-102-22.

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ee STATES IISTRICT JUDGE

 
